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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,                                 4:15CR3041

       vs.
                                                   FINDINGS AND RECOMMENDATION
MUSA J. HARRIS,                                          ON PLEA OF GUILTY

                      Defendant.


       Defendant, together with counsel and in the presence of counsel for government,
appeared before the undersigned magistrate judge to tender a plea of guilty. Defendant
was advised of the right to appear before a United States District Judge, and agreed to
enter a guilty plea before a magistrate judge.

       After being sworn, Defendant was advised of the charges and possible penalties,
and was orally examined in open court as required by Federal Rule of Criminal Procedure
11. Defendant was also given the advice required by that Rule. Finally, Defendant was
given an opportunity to address the court, and ask questions.

       Counsel for the government and counsel for Defendant were given the opportunity
to suggest additional questions by the court. Moreover, both counsel orally certified that
they believed the plea was knowing, intelligent and voluntary, and that there was a
factual basis for the plea.

       Having questioned Defendant and considered the Defendant’s responses, the
undersigned magistrate judge finds and concludes that (1) the plea is knowing, intelligent,
and voluntary; (2) there is a factual basis for the plea; and (3) the parties and the court
have complied with the provisions of Rule 11 and any other provisions of the law
governing the submission of guilty pleas.
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       IT IS RECOMMENDED to the Honorable John M. Gerrard, United States District
Judge, that after de novo review, the court accept the guilty plea and find the defendant
guilty of the crime(s) to which the defendant tendered a guilty plea.


       The court finds that in the interest of obtaining a just, efficient, and expeditious
resolution of this case, the deadline for objecting to the findings and recommendation
herein should be shortened. (See NEGenR 1.1(c)). Therefore, if any party desires to
object to the findings and recommendation, they shall do so no later than 14 calendar
days following the date of the filing of the plea transcript, or the audio recording of the
proceeding, whichever is earlier, or they may be deemed to have waived the right to
object to adoption of the findings and recommendation.


       January 5, 2017.

                                          BY THE COURT:

                                          s/ Cheryl R. Zwart
                                          United States Magistrate Judge
